EXHIBIT 41
 From:                                          Christopher Lape <christopher.lape@schindler.com>
 Sent:                                          Tuesday, March 29, 2016 4:34 PM
 To:                                            Keith Dancey
 Cc:                                            Gino Capra; Peter Ruiz
 Subject:                                       RE: 10K SM - Report on Elevator Damage
 Attachments:                                   10K SM - CO 7.pdf; 10k Damage Report.pdf


 Keith,
 Please see the attached report from our high rise installation team. Also, as discussed prior, we will need to replace all rail
 clips (listed in this report)for cars B through D for all floors through 19. I have attached a change notice for the material
 and labor portion of this work.

(See attachedfile: 10K SM- CO 7.pdf)(See attachedfile: 10k Damage Report.pdf)


 Please let me know if you have any questions.

 Regards,

 Chris

 Christopher Lape I Associate Superintendent
 Phone 818.336.3074 I Mobile 818.335.9305 I Fax 818.336.3076
 christopher.lape@us.schindler.com

 Schindler Elevator Corporation I Existing Installations
 16450 Foothill Blvd, Suite 200 I Sylmar, CA 91342, USA
 www.us.schindler.com

 Please consider your environment.

 Schindler supports sustainable urban development with
 safe, reliable and ecologically sound mobility solutions.




    Keith Dancey ---03/24/2016 10:28:14 AM---Chris, I never received this report, please forward it to me so that I can keep
 the insurance compan

 From: Keith Dancey <KDancey@swinerton.com>
 To: "Christopherlape@us.schindler.com" <Christopherlape@us.schindlercom>,
 Cc: Gino Capra <GCapra@swinerton.com>, Peter Ruiz <PRuiz@swinerton.com>
 Date: 03/24/2016 10:28 AM
 Subject: RE: 10K SM - Report on Elevator Damage




 Chris,
 I never received this report, please forward it to me so that I can keep the insurance company informed.


 Keith Dancey
                                                                        1

                                                                                                            SEC 001132
Sr. Project Manager I Swinerton Builders
17731 Mitchel North I Suite 200 I Irvine, CA 92614
T 213.896.3423 I F 213.896.0027 I C 949.933.4560
kdancey swinerton.com I www.swinerton.com
INTEGRITY I LEADERSHIP I PASSION I EXCELLENCE




From: Christopherlape@us.schindler.conn [mailto:Christopherlape@us.schindler.com]
Sent: Tuesday, February 23, 2016 4:43 PM
To: Keith Dancey
Cc: Gino Capra; Peter Ruiz
Subject: Re: 10K SM - Report on Elevator Damage

Keith,
Our regional supervisor was onsite last week. He should be finalizing a report very soon. As of now, it looks like the only
items we need to replace, are the rail clips of cars B, C & D. I should be expecting this report either tomorrow or Thursday.

Regards,

Chris

Christopher Lape I Sales Representative
Phone 818.336.3074 I Mobile 818.335.9305 I Fax 818.336.3076
christopher.labe us.schindler.com

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safe, reliable and ecologically sound mobility solutions.




From: Keith Dancey <KDancev swinerton.com>
To: "Christooherlape us.schindler.com" <Christopherlaoe us.schindler.com>,
Cc: Peter Ruiz <PRuiz(@,swinerton.com>, Gino Capra <GCapra swinerton.com>
Date: 02/23/2016 11:48 AM
Subject: 10K SM - Report on Elevator Damage




Chris,
As I understand it from Roger, Schindler had an in-house expert come out to review the condition of the installed rails and brackets
in the hoist way that was impacted by the concrete blowout. Can I please get some sort of official report stating his findings? I need
to send something to the insurance company regarding the status/observed damage to your elevator components.

Thanks,

Keith Dancey
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                                                                                                             SEC 001133
******************************************************
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                                                                                             SEC 001134
                                                                                                                 16450 Foothill Blvd Suite 200
                                                                                                                           Sylmar, CA 91342
                                                                                                                           Ph: 818-336-3074
                                                                                                          Christopher.lape@us.schindler.com
Schindler

                                            SUBCONTRACTOR CHANGE ORDER
  To:      Swinerton Builders                                                 Date Issued:       March 29, 2016
           865 South Figueroa St., Suite 3000                                 Change Order #: 7
           Los Angeles, CA 90017
          ("Contractor")


  Contract No.:      13050092                                       Previous Contract Amount:             $4,075,489.00
  Contract Date:     June 26, 2014                                            x Add this Change Order: $24,567.45
  Schindler Project No.:779249
  Project: 10000 Santa Monica                                        N EW CONTRACT AMOUNT:                $4,100,056.00


  This Change Order is issued pursuant to our Subcontract as it relates to changes in the work and shall not be effective until executed
  below by an authorized representative of the Contractor. Upon execution of this Change Order by an authorized representative of
  Contractor, the Subcontractor is directed to proceed with the work described below. This proposal is valid for 30 days.


  Change Order Description:


  Provide labor and material to replace elevator rail clips for passenger elevators B through D. These rail clips have been
  compromised / damaged from the concrete accident occurring on December 2nd, 2015. This change order includes all
  labor, material, engineering hours,freight and sales tax to complete the installation.



  Subcontractor agrees to perform the above changed work. Schedule impact is to be determined once work is resumed and mutually agreed
  schedule adjustments and costs are established.

  Contractor approves this Change Order to the extent of the scope of work and adjustments to the Contract Sum and mutually agreed
  changes to schedule for the Work provided herein.

  Accepted:                                                          Accepted:
  Schindler Elevator Corporation                                     Swinerton Builders

  By:                                                                By:


  Print Name: Brett Morris                                           Print Name: Keith Dancey

  Title: District Manager                                            Title: Senior Project Manager




                                                                                                                       SEC 001135
     Damage Report                                                             CA*Q
                                                                         Schindler


      Schindler Elevator Co- TRT Highrise Traction Support- Morristown, NJ



                                    10K Santa Monica
     James Hayden                                                            H5001
       2.18.2016                     Los Angeles, CA
                                        2.18.2016                         Page 1/6

                      TO:          Ralph Testa Jr.             SEC
                                   Christopher Lape            SEC
                                   Denis Davis                 SEC




                      Cc:           Florian Wieland            SEC
                                    Robert Blum                SEC
                                    Pritesh Thacker            SEC




1.     OCCASION

         Per the request of the local office and Schindler S7000 installation support and
q uality assurance standards I traveled to Los Angeles to conduct damage assessment due
to concrete form failure on the 10k Santa Monica Project. This failure resulted in multiple
yards of concrete coming down the shaft and impacting multiple components of the
elevator, to which as per S7000 initiatives requires the local office to have an inspection
conducted prior to commencement of installation.


2.     ASSESSMENT

          During my visit the observed and inspected amount of damage was found to be
quite extreme affecting multiple components of the elevator system. During this
assessment I did give corrective actions to the field and office. I also document all
corrections required to meet Schindler S7000 standards and will be conducting a follow up
visit to ensure repairs are complete and correct. All documented damage and corrections
can be found below under section 3 findings and action items. With the amount of damage
and work required to repair components I have also asked the local team to provide a
labor cost to be tracked along with the material.
                                                                                 1 1 Page




                                                                                SEC 001136
     Damage Report                                                              Schindler




3.      FINDINGS/ACTION ITEMS

        Below you will find a list of all damage findings with corrective actions.

        A)Starter rails experienced significant damage when concrete impacted the false
car (pictured below). Team is questioning whether these will need to be replaced. In
addition there are some signs of some minor surface scratches throughout the shaft.

                                  Damage caused by
                                  concrete impact to
                                  false car setting knurl
                                  rollers. 2 rails multiple
                                  locations.

                                 Minor surface damage
                                 to be cleaned/repaired
                                 throughout shaft.


       ***Action — I have assed location and amount of damage and concluded
replacement of starter rails is not necessary. Site foreman to ensure team cleans/repairs
surface damage without compromising the quality of the rail.

        B)Rail clips experienced significant damage from impact of concrete/debris and
during clean up (at no fault to the field). This will result in replacement and extra labor
requirements for clean up and repair of clip components. Please see pictures and
comments below.


                                                               Typical condition of clips prior to
                                                               cleaning.



                                                                Tab keeps designed to only be
                                                                used once will need to be bent
                                                                back to remove clip. All tabs
                                                                m ust be replaced .




                                                                                          2 1Page




                                                                                       SEC 001137
   Damage Report                                                                    Schindler

                                                                             Typical condition of
                                                                             i nner eccentric after
                                                                              cleaning without
                                                                              removal of clip.




                               Condition of inner
                               components with outer clip
                                removed.

                               Inner eccentrics showing signs
                               of damage after cleaning.


                                                                Guide rail fastening

                                                                A:
                                                                 ► Upon aligning the guide rail manually,
                                                                     insert the eliding clip (4), the pre
                                                                     tensioning device with locking plate (3)
                                                                     and the hex nut (2)-
                                                                 II. Manually tighten the hex nut (2).

                                                                1   Guide rail
                                                                2   Hex nut
                                                                3   Locking plate
                                                                4   Sliding clip GRS7

                                                                B:
                                                                 ► Turn the nut (1) 180' only.
                                                                 ► Bend the locking plate (2).

                                                                1   Hex nut
                                                                2   Locking plate



                                                                    Clip set up and installation
                                                                    procedure.

        ***Action — Due to the amount of debris and damage to inner eccentric and
threaded components the clips will not be able to be installed as per specifications (shown
above) therefore compromising functionality of the clip. Due to the extensive damage to
components and the configuration of said components all clips impacted by debris will
require replacement.

       C) Pit line keeps and GRIK tooling was compromised to the point of complete
replacement.




                                                                                                  3 1Page




                                                                                               SEC 001138
    Damage Report                                                              1:44Q
                                                                          Schindler
       ***Action — Due to extreme lead times it is best for the local team to have
replacements manufactured locally.

       D)False car experienced a direct impact from falling debris.




        ***Action — Due to safety and certification requirements damages are not
repairable. Replace entire false car assembly.

       E)Overhead hoisting and rigging components were also impacted by debris.




      Capstan Hoist /Tugger              Rope and rigging blocks       Lean-to Beams


       ***Action — Local team to inspect all components and replace as needed.

        F)Hoist wa over head protection/screening suffered significant damage.
                                  Condition of
                                  protection prior to
                                  i ncident.


                                  Current condition
                                  of protection.



        ***Action — Repair and replace as needed.
                                                                                     4 1Page




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Damage Report                                Schindler

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                                                   51 Page




                                                  SEC 001140
Damage Report   Schindler




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                   SEC 001141
